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 7
 8                                 UNITED STATE DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                     )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                         )
11                                                     )   STIPULATION AND ORDER FOR A
                    Plaintiff,                         )   RESETTING OF HEARING ON REPORT
12                                                     )   OF PROBATION OFFICER
     v.                                                )
13                                                     )
     JOSE ARELLANO,                                    )
14                                                     )
                    Defendants.                        )
15                                                     )
                                                       )
16
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18           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

19 the defendant by and through his attorney, that the date set for hearing on the presentence report of
20 the probation officer and sentencing be extended as follows:
21                  Formal Objections must be filed with the Court and served on
22                  Probation and AUSA: move from October 15, 2013 to January 6,
                    2014.
23
                    RPO Hearing: move from 8:30 a.m. on October 21, 2013 to 8:30
24                  a.m. on January 13, 2014.
25
26           The reason for moving the hearing is due to a combination of an extraordinary amount of

27 time expended in the capital prosecution of U.S. v. GUERRERO, Case No.: 1:08-CR-00259-PMP,
28 time needed to resolve complex legal issues raised by counsel’s informal objections to the report of
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     the probation officer and to allow further negotiations with the government concerning their
 1
 2 recommendations for an appropriate sentence.
 3         It is anticipated that this will be the last request for a continuance by the defense.

 4                                                        Respectfully submitted,
 5
 6
 7 DATED: October 15, 2013                                 /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
 8                                                        Attorney for Defendant,
                                                          JOSE ARELLANO
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10
11 DATED: October 15, 2013                                 /s/ Kimberly A. Sanchez
                                                          KIMBERLY A. SANCHEZ
12                                                        Assistant United States Attorney
13                                                        This was agreed to via email on Oct. 15, 2013
14
15                                                  ORDER
16
17
18
19 IT IS SO ORDERED.
20      Dated:                   October 15, 2013            /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
21         DEAC_Signature-END:




22         b9ed48bb

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